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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 HEATHER M. BARCLAY, individually,
 and on behalf of all others similarly
 situated,

      Plaintiff,

 v.                                                       Case No. 1:19-cv-02188

 CAPITAL ONE BANK (USA), N.A.

      Defendant.

                                   CLASS ACTION COMPLAINT

        NOW COMES Plaintiff, HEATHER M. BARCLAY, individually, and on behalf of all

others similarly situated, through counsel, SULAIMAN LAW GROUP, LTD., complaining of

Defendant, CAPITAL ONE BANK (USA), N.A., as follows:

                                     NATURE OF THE ACTION

        1.         Plaintiff brings this action seeking damages as well as injunctive relief for the

Defendant’s violations of Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                    JURISDICTION AND VENUE

        2.         This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

        3.         Venue in this district is proper under 28 U.S.C. § 1391(b)(2).

                                               PARTIES

        4.         HEATHER M. BARCLAY (“Plaintiff”) is a natural person, over 18-years-of-age,

who at all times relevant resided in this District.

        5.         Plaintiff is a “person” as defined by 47 U.S.C. § 153(39).



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       6.       CAPITAL ONE BANK (USA), N.A (“Defendant”) is a national bank that provides

various financial products and services. Defendant’s headquarters are located in McLean, Virginia.

       7.       Defendant is the third largest credit card issuer, after JPMorgan Chase and

Citigroup.

       8.       Defendant issues credit cards for department stores in the United States, including

Kohl’s department stores.

       9.       Defendant is a “person” as defined by 47 U.S.C. § 153(39).

                                   FACTUAL ALLEGATIONS

       10.      Plaintiff is a 55-year-old woman who is legally disabled.

       11.      Plaintiff suffers from numerous medical conditions, including heart failure and a

seizure disorder.

       12.      At all times relevant, Plaintiff was the sole operator, possessor, and subscriber of

the cellular telephone number ending in 2612.

       13.      At all times relevant, Plaintiff’s number ending in 2612 was assigned to a cellular

telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).

       14.      At all times relevant, Plaintiff was financially responsible for her cellular telephone

equipment and services.

       15.      In the summer of 2016, Plaintiff applied for and was approved for a Capital One

Kohl’s credit card (“subject account”).

       16.      Plaintiff made various charges on the subject account, amassing a balance of less

than $500.00.

       17.      Plaintiff made payments on the subject account until September 2018.



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       18.     In September 2018, Plaintiff was hospitalized as result of brain swelling. The brain

swelling triggered uncontrollable seizures.

       19.     In September 2018, due to Plaintiff’s deteriorating health and financial

circumstances, Plaintiff ceased making payment on the subject account.

       20.     Immediately after Plaintiff ceased making payment on the subject account,

Defendant started placing daily collections calls to Plaintiff’s cellular phone.

       21.     Immediately after Defendant’s collection calls started, Plaintiff answered the

collection calls on numerous occasions and advised Defendant that she could not make payments

on the subject account and requested that Defendant cease its collection calls.

       22.     Plaintiff further advised Defendant of her deteriorating health condition and

advised Defendant that the anxiety caused by Defendant’s collection calls exacerbate the

symptoms associated with Plaintiff’s health conditions.

       23.     Despite being notified of Plaintiff’s health conditions and Plaintiff’s request that

the collection calls cease, Defendant continued to place daily collection calls to Plaintiff.

       24.     Specifically, from September 2018 through the present, Defendant has placed an

average of two collection calls per day to Plaintiff’s cellular phone.

       25.     Between September 2018 through the present, Plaintiff answered at least 15 of

Defendant’s calls.

       26.     In each answered call, Plaintiff experienced a distinctive and noticeable pause prior

to being connected to Defendant’s representative.

       27.     In each answered call, Plaintiff requested that Defendant cease its collection calls.

       28.     Every time Plaintiff requested that the calls cease, Defendant immediately changed

the subject and demanded payment on the subject account.

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       29.     Becoming increasingly frustrated and annoyed by the collection calls, Plaintiff

requested that Defendant send her to collections, hoping that the collection agency would not place

as many calls as Defendant.

       30.     In late March 2019, Plaintiff answered another collection call from Defendant.

       31.     Plaintiff again requested that the collection calls cease.

       32.     Plaintiff’s request that the collection calls cease fell on deaf ears and Defendant

continued to place collection calls to Plaintiff’s cellular phone.

       33.     In total, from September 2018 to the present, Defendant has placed no less than 300

phone calls to Plaintiff’s cellular phone.

       34.     Moreover, on several occasions, Plaintiff did not answer Defendant’s phone calls

and Defendant left a pre-recorded message requesting a call back.

       35.     Defendant’s harassing phone calls have severely disrupted Plaintiff’s daily life and

general well-being.

       36.     As stated above, Defendant’s phone calls caused Plaintiff anxiety, which

exacerbated the symptoms associated with her health conditions.

       37.     Defendant’s phone harassment campaign and illegal collection activities have

caused Plaintiff actual harm, including but not limited to, invasion of privacy, nuisance, intrusion

upon seclusion, wasting Plaintiff’s time, an increased risk of personal injury resulting from the

distraction caused by the telephone calls, aggravation that accompanies unsolicited telephone calls,

emotional distress, mental anguish, anxiety, hypertension, loss of concentration, deprivation of the

use of her cellular phone, wear and tear caused to her cellular phone, the loss of battery life, and

the per-kilowatt electricity costs required to recharge her cellular telephone as a result of increased

usage of her telephone services.

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                                      CLASS ALLEGATIONS

        25.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

        26.     Plaintiff brings this action pursuant to Fed. R. Civ. P. 23(b)(2) and 23(b)(3)

individually, and on behalf of all others similarly situated (“Putative Class”) defined as follows:

        All persons within the United States: (a) to whom Defendant and/or a third party
        acting on Defendant’s behalf, made one or more non-emergency phone call(s); (b)
        to their cellular telephone number; (c) using an automated telephone dialing system
        or an artificial or prerecorded voice; (d) without their prior express consent; and
        (e) at any time in the period that begins four years before the date of the filing of
        this Complaint through the date of class certification.

        27.     The following individuals are excluded from the Putative Class: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, Defendant’s

subsidiaries, parents, successors, predecessors, and any entity in which Defendant or their parents

have a controlling interest and their current or former employees, officers and directors; (3)

Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion from

the Putative Class; (5) the legal representatives, successors or assigns of any such executed

persons; and (6) persons whose claims against Defendant have been fully and finally adjudicated

and/or released.

        A.      Numerosity.

        28.     The exact number of members of the Putative Class are unknown and not available

to Plaintiff at this time, but it is clear that individual joinder is impracticable.

        29.     On information and belief, Defendant made phone calls to thousands of consumers

who fall into the definition of the Putative Class.




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       30.     Members of the Putative Class can be objectively identified from records of

Defendant and any affiliated marketers to be gained in discovery.

       B.      Commonality and Predominance.

       31.     There are many questions of law and fact common to the claims of Plaintiff and the

Putative Class, and those questions predominate over any questions that may affect individual

members of the Putative Class. Common questions for the Putative Class include, but are not

necessarily limited to the following:

               A.      Whether Defendant utilized an “automatic telephone dialing system” as

                       defined by the TCPA and applicable FCC regulations and orders to place

                       the phone calls at issue;

               B.      Whether Defendant continued placing calls to the Putative Class members

                       after a cease request;

               C.      Whether Defendant utilized an “artificial or prerecorded voice” as defined

                       by the TCPA and applicable FCC regulations and orders in phone calls at

                       issue;

               D.      Damages, including whether Defendant’s violations were performed

                       willfully or knowingly such that Plaintiff and the members of the Putative

                       Class are entitled to treble damages.

       C.      Typicality.

       32.     Plaintiff’s claims are typical of members of the Putative Class because Plaintiff and

members of the Putative Class are entitled to damages as result of Defendant’s conduct.




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         D.     Superiority and Manageability.

         33.    This case is also appropriate for class certification as class proceedings are superior

to all other available methods for the efficient and fair adjudication of this controversy.

         34.    The damages suffered by the individual members of the Putative Class will likely

be relatively small, especially given the burden and expense required for individual prosecution.

         35.    By contrast, a class action provides the benefits of single adjudication, economies

of scale and comprehensive supervision by a single court.

         36.    Economies of effort, expense, and time will be fostered and uniformity of decisions

ensured.

         E.     Adequate Representation.

         37.    Plaintiff will adequately and fairly represent and protect the interests of the Putative

Class.

         38.    Plaintiff has no interests antagonistic to those of the Putative Class, and Defendant

has no defenses unique to Plaintiff.

         39.    Plaintiff has retained competent and experienced counsel in consumer class action

litigation.

                                       CLAIMS FOR RELIEF

                                           COUNT I:
                              Violation of 47 U.S.C. § 227 et seq.
                  (On behalf of Plaintiff and the Members of Putative Class)

         40.    All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

         41.    Defendant placed or caused to be placed no less than 300 non-emergency calls,

including but not limited to the aforementioned collection calls, to Plaintiff’s cellular telephone

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utilizing an automatic telephone dialing system (“ATDS”) or an artificial or prerecorded voice

without Plaintiff’s consent in violation of 47 U.S.C. §227 (b)(1)(A)(iii).

       42.     Upon information and belief, based on the noticeable pause Plaintiff experienced

in the calls she answered and the pre-recorded messages Plaintiff received, Defendant employed

an ATDS to place calls to Plaintiff’s cellular telephone.

       43.     Upon information and belief, the ATDS employed by Defendant transfers the call

to a live representative once a human voice is detected, hence the clear pause.

       44.     Upon information and belief, Defendant employed an ATDS that has the capacity

to – (A) to store or produce telephone numbers to be called, using a random or sequential number

generator; and (B) to dial such numbers.

       45.     Upon information and belief, Defendant has no database to maintain and update

consumers’ contact preferences and consent to call them.

       46.     As a result of Defendant’s violations of 47 U.S.C. § 227 et seq., Plaintiff and the

members of the Putative Class are entitled to receive $500.00 in damages for each such violation.

       47.     As a result of Defendant’s knowing and willful violations of 47 U.S.C. § 227 et

seq., Plaintiff and the members of the Putative Class are entitled to receive up to $1,500.00 in

treble damages for each such violation.

       WHEREFORE, Plaintiff, on behalf of herself and the members of the Putative Class,

requests the following relief:

       A.      an order granting certification of the proposed class, including the designation of

               Plaintiff as the named representative and the appointment of the undersigned as

               Class Counsel, under the applicable provisions of Fed. R. Civ. P. 23;

       B.      an order finding that Defendant violated 47 U.S.C. § 227 et seq.;

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   C.     an order enjoining Defendant from placing or causing to place violating calls to

          consumers;

   D.     an award damages of $500.00 to Plaintiff and the members of the Putative Class

          for each such violation;

   E.     an award treble damages up to $1,500.00 to Plaintiff and the members of the

          Putative Class for each such violation; and

   F.     an award of such other relief as this Court deems just and proper.

Plaintiff demands a trial by jury.

Dated: March 29, 2019                          Respectfully Submitted,
                                               /s/ Mohammed O. Badwan
                                               /s/ Joseph S. Davidson
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